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               IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TEXAS
                          WACO DIVISION


PARKERVISION, INC.,

                      Plaintiff,
                                         Case No. 6:21-cv-00520-ADA
     v.
                                         JURY TRIAL DEMANDED
LG ELECTRONICS, INC.,

                      Defendant.



              JOINT CLAIM CONSTRUCTION STATEMENT
I.    TERMS THAT THE PARTIES NEWLY BRIEFED IN THIS LITIGATION

 Term            Term                   ParkerVision’s Proposed Construction               LGE’s Proposed Construction
  No.
 1    “storage module”
      (’706 patent, cls. 105, 114,
      115, 164, 166, 168, 175,         Energy storage element / storage
      179, 186, 190;                   element: “an element of an energy transfer
      ’835 patent, cls. 1, 18;         system that stores non-negligible amounts
      ’725 patent, cls. 1, 6, 17-19)   of energy from an input electromagnetic
      “energy storage module”          signal”
      (’902 patent, cl. 1)
      “storage element”                Energy storage module / storage module:       “a module that stores a non-negligible amount
      (’444 patent, cls. 3, 4)         “a module of an energy transfer system that   of energy from an input electromagnetic
      “storage device”                 stores non-negligible amounts of energy       (EM) signal”
      (’835 patent, cl. 20)            from an input electromagnetic signal”
      “energy storage element”
      (’513 patent, cl. 19;            Energy storage device: “a device of an
      ’528 patent, cls. 1, 9;          energy transfer system that stores non-
      ’736 patent, cls. 1, 11, 21,     negligible amounts of energy from an input
      26, 27)                          electromagnetic signal”
      “energy storage device”
      (’673 patent, cls. 13, 17, 18)
 2    “A cable modem for down-
      converting an
                                                                                     Only the portion of the preamble reciting “an
      electromagnetic signal           The entire preamble (including “cable
                                                                                     electromagnetic signal having complex
      having complex                   modem”) is limiting.
                                                                                     modulations” is limiting.
      modulations, comprising”
      (’835 patent, cl. 1)
                                                                                                                                     Case 6:21-cv-00520-ADA Document 42 Filed 04/20/22 Page 2 of 20




                                                                1
II.     TERMS WITH BRIEFING IN PRIOR LITIGATIONS INCORPORATED BY REFERENCE

 Term               Term               ParkerVision’s Proposed Construction and             LGE’s Proposed Construction and
  No.                                   Citation(s) to Incorporated By Reference         Citation(s) to Incorporated By Reference
                                            Arguments from Prior Litigations                 Arguments from Prior Litigations
 3       “said input sample”           Plain and ordinary meaning                       “the sample of the image that has been
         (’706 patent, cls. 1, 6, 7)                                                    down-converted”
         “said sample”                 Citation(s):
         (’706 patent, cl. 34)         Dkt. No. 36-8: PV 562 Op. Br. at 9-10, §         Citation(s):
                                       V.B;                                             Dkt. No. 32-45: Intel 562 Resp. Br. at 7, §
                                       Dkt. No. 36-13: PV 562 Rep. Br. at 12-13, §      II.B;
                                       IV.C                                             Dkt. No. 32-55: Intel 562 Rep. Br. at 7-8, §
                                                                                        II.B
 4       “under-sample” / “under-      “sampling at an aliasing rate” or “sampling at   “sampling at less than or equal to twice the
         samples” / “under-            less than or equal to twice the frequency of     frequency of the input signal”
         sampling”                     the input signal”
         (’706 patent, cls. 1, 6, 7,                                                    Citation(s):
         28, 34; ’444 patent, cl. 2)   Citation(s):                                     Dkt. No. 33: Intel 108 Op. Br. at 19-24, §
                                       Dkt. No. 36-1: PV 108 Op. Br. at 27-28, §        IV.B;
                                       IV.G;                                            Dkt. No. 32-90: Intel 108 Resp. Br. at 2-5, §
                                       Dkt. No. 36-5: PV 108 Resp. Br. at 2-4, § II;    II; 18-22, § III.B;
                                       20-23, § III.G;                                  Dkt. No. 32-97: Intel 108 Rep. Br. at 1-3, §
                                       Dkt. No. 36-6: PV 108 Rep. Br. at 3, § III;      II; 6-9, § III.B;
                                       16-17, § V.G;                                    Dkt. No. 32-18: TCL/Hisense Op. Br. at 31,
                                       Dkt. No. 36-16: PV 870/945 Resp. Br. at 33-      § II.N;
                                       34, § IV.N                                       Dkt. No. 32-42: TCL/Hisense Rep. Br. at 15,
                                                                                        § I.I
 5       “harmonic” / “harmonics“      Harmonic: “A sinusoidal component of a           Harmonic: “A sinusoidal component of a
         (’706 patent, cls. 1, 6, 7,   periodic wave that has a frequency that is an    periodic wave that has a frequency that is an
         28, 34; ’518 patent, cl. 1)   integer multiple of the fundamental frequency    integer multiple of the fundamental
                                                                                                                                        Case 6:21-cv-00520-ADA Document 42 Filed 04/20/22 Page 3 of 20




                                       of the periodic waveform and including the       frequency of the periodic wave”
                                       fundamental frequency as the first harmonic”




                                                                  2
                                 Harmonics: “A frequency or tone that, when        Harmonics: “Sinusoidal components of a
                                 compared to its fundamental or reference          periodic wave each of which have a
                                 frequency or tone, is an integer multiple of it   frequency that is an integer multiple of the
                                 and including the fundamental frequency as        fundamental frequency of the periodic wave”
                                 the first harmonic”
                                                                                   Citation(s):
                                 Citation(s):                                      Dkt. No. 32-45: Intel 562 Resp. Br. at 10-12,
                                 Dkt. No. 36-8: PV 562 Op. Br. at 12-17, §         § II.D;
                                 V.D;                                              Dkt. No. 32-55: Intel 562 Rep. Br. at 9-12, §
                                 Dkt. No. 36-13: PV 562 Rep. Br. at 7-8, § III;    II.D;
                                 15-17, § IV.E                                     Dkt. No. 32-18: TCL/Hisense Op. Br. at 31-
                                 Dkt. No. 36-16: PV 870/945 Resp. Br. at 34-       32, § II.O;
                                 36, § IV.O;                                       Dkt. No. 32-42: TCL/Hisense Rep. Br. at 15,
                                 Dkt. No. 36-22: PV 870/945 Sur-Rep. Br. at        § I.J
                                 14, § VIII
6   “integral filter/frequency   Plain and ordinary meaning wherein the            Plain and ordinary meaning
    translator to filter and     plain-and-ordinary meaning is “a circuit
    down-convert an input        having a unified input filter and frequency       Citation(s):
    signal”                      translator.”                                      Dkt. No. 32-18: TCL/Hisense Op. Br. at 32,
    (’706 patent, cl. 28)                                                          § II.P;
                                 Citation(s):                                      Dkt. No. 32-42: TCL/Hisense Rep. Br. at 14,
                                 Dkt. No. 36-8: PV 562 Op. Br. at 30-33, §         § I.H
                                 V.I;
                                 Dkt. No. 36-13: PV 562 Rep. Br. at 4-6, §
                                 II.B; 25-26, § IV.J
                                 Dkt. No. 36-16: PV 870/945 Resp. Br. at 36-
                                 37, §IV.P;
                                 Dkt. No. 36-22: PV 870/945 Sur-Rep. Br. at
                                 14, § VII
7   “modulated signal”           “an electromagnetic signal at a transmission      Plain and ordinary meaning
                                                                                                                                   Case 6:21-cv-00520-ADA Document 42 Filed 04/20/22 Page 4 of 20




    (’706 patent, cl. 127)       frequency having at least one characteristic
    “modulated carrier signal”   that has been modulated by a baseband             Citation(s):
    (’513 patent, cl. 19;        signal”


                                                             3
    ’528 patent, cls. 1, 5, 14;                                                     Dkt. No. 32-18: TCL/Hisense Op. Br. at 32-
    ’736 patent, cls. 1, 11, 15;     Citation(s):                                   33, § II.Q;
    ’673 patent, cls. 1, 2, 7, 13,   Dkt. No. 36-1: PV 108 Op. Br. at 17-19, §      Dkt. No. 32-42: TCL/Hisense Rep. Br. at 14,
    19)                              IV.B;                                          § I.H
                                     Dkt. No. 36-5: PV 108 Resp. Br. at 10-11, §
                                     III.B;
                                     Dkt. No. 36-6: PV 108 Rep. Br. at 4-5, § IV;
                                     7-8, § V.B
                                     Dkt. No. 36-8: PV 562 Op. Br. at 35-36, §
                                     V.L;
                                     Dkt. No. 36-13: PV 562 Rep. Br. at 26-27, §
                                     IV.K;
                                     Dkt. No. 36-16: PV 870/945 Resp. Br. at 37-
                                     38, § IV.Q;
                                     Dkt. No. 36-22: PV 870/945 Sur-Rep. Br. at
                                     14, § VII
8   “switch”                         Plain and ordinary meaning wherein the         Plain and ordinary meaning
    (’706 patent, cls. 105, 107,     plain-and-ordinary meaning is “an electronic
    109, 111, 114, 115, 164,         device for opening and closing a circuit as    Citation(s):
    165, 166, 168, 175, 176,         dictated by an independent control input”      Dkt. No. 33: Intel 108 Op. Br. at 41-43, §
    179, 186, 187, 190;                                                             IV.I;
    ’518 patent, cl. 50;             Citation(s):                                   Dkt. No. 32-90: Intel 108 Resp. Br. at 40-42,
    ’444 patent, cl. 3;              Dkt. No. 36-1: PV 108 Op. Br. at 19-21, §      § III.I;
    ’835 patent, cls. 18, 19, 20;    IV.C;                                          Dkt. No. 32-97: Intel 108 Rep. Br. at 15, §
    ’513 patent, cl. 19;             Dkt. No. 36-5: PV 108 Resp. Br. at 12-15, §    III.I;
    ’528 patent, cls. 1, 5, 8, 17;   III.C;                                         Dkt. No. 32-18: TCL/Hisense Op. Br. at 36,
    ’736 patent, cls. 1, 11, 15,     Dkt. No. 36-6: PV 108 Rep. Br. at 4-5, § IV;   § II.V;
    21, 26, 27;                      8-9, § V.C;                                    Dkt. No. 32-42: TCL/Hisense Rep. Br. at 14,
    ’673 patent, cls. 1, 6, 7, 13,   Dkt. No. 36-16: PV 870/945 Resp. Br. at 43-    § I.H
    17, 18)                          44, § IV.V;
                                                                                                                                    Case 6:21-cv-00520-ADA Document 42 Filed 04/20/22 Page 5 of 20




    “switch module”                  Dkt. No. 36-22: PV 870/945 Sur-Rep. Br. at
    (’902 patent, cl. 1)             14, § VII
    “switching device”


                                                               4
     (’725 patent, cl. 1)
9    “universal frequency        “circuitry that generates a down converted     Plain and ordinary meaning
     down-converter (UFD)”       output signal from an input signal from a
     (’518 patent, cl. 50)       wide range of electromagnetic frequencies”     Citation(s):
                                                                                Dkt. No. 32-18: TCL/Hisense Op. Br. at 33-
                                 Citation(s):                                   34, § II.R;
                                 Dkt. No. 36-1: PV 108 Op. Br. at 31-32, §      Dkt. No. 32-42: TCL/Hisense Rep. Br. at 14,
                                 IV.J;                                          § I.H
                                 Dkt. No. 36-5: PV 108 Resp. Br. at 28-29, §
                                 III.H.4;
                                 Dkt. No. 36-6: PV 108 Rep. Br. at 4-5, § IV;
                                 Dkt. No. 36-16: PV 870/945 Resp. Br. at 38-
                                 40, § IV.R;
                                 Dkt. No. 36-22: PV 870/945 Sur-Rep. Br. at
                                 14, § VII
10   “a down-converted signal    “a lower frequency signal formed from          “a down-converted signal being created from
     being generated from said   sampled energy transferred from the            sampled energy stored in the energy storage
     sampled energy”             electromagnetic signal when the switch         module”
     (’902 patent, cl. 1)        module is closed and from sampled energy
                                 discharged from the storage module when the    Citation(s):
                                 switch module is open”                         Dkt. No. 33: Intel 108 Op. Br. at 43-45 , §
                                                                                IV.J;
                                 Citation(s):                                   Dkt. No. 32-90: Intel 108 Resp. Br. at 42-44,
                                 Dkt. No. 36-1: PV 108 Op. Br. at 23-26, §      § III.J;
                                 IV.E;                                          Dkt. No. 32-97: Intel 108 Rep. Br. at 16-17,
                                 Dkt. No. 36-5: PV 108 Resp. Br. at 15-19, §    § III.J;
                                 III.E;                                         Dkt. No. 32-18: TCL/Hisense Op. Br. at 37-
                                 Dkt. No. 36-6: PV 108 Rep. Br. at 10-13, §     39, § II.W;
                                 V.E;                                           Dkt. No. 32-42: TCL/Hisense Rep. Br. at 15-
                                 Dkt. No. 36-16: PV 870/945 Resp. Br. at 44-    17, § I.M
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                                 45, § IV.W;
                                 Dkt. No. 36-22: PV 870/945 Sur-Rep. Br. at
                                 15-17, § XI


                                                           5
11   “frequency down-              Not subject to § 112, ¶ 6                     Subject to § 112, ¶ 6
     conversion module”
     (’444 patent, cls. 2, 3;      Plain and ordinary meaning                    Function: “to down-convert the input signal
     ’673 patent, cl. 1)                                                         ... according to a [] control signal and
                                   Citation(s):                                  output[] a [] down-converted signal.”
                                   Dkt. No. 36-1: PV 108 Op. Br. at 29-31, §
                                   IV.I;                                         Structure: an “aliasing module 2000”
                                   Dkt. No. 36-5: PV 108 Resp. Br. at 27-28, §   comprising at least one switch and one
                                   III.H.3;                                      capacitor (Figures 20A and 20A-1).
                                   Dkt. No. 36-6: PV 108 Rep. Br. at 17-20, §
                                   V.H;                                          Citation(s):
                                   Dkt. No. 36-16: PV 870/945 Resp. Br. at 32-   Dkt. No. 32-18: TCL/Hisense Op. Br. at 30,
                                   33, § IV.M;                                   § II.M;
                                   Dkt. No. 36-22: PV 870/945 Sur-Rep. Br. at    Dkt. No. 32-42: TCL/Hisense Rep. Br. at 14,
                                   13, § VI                                      § I.F, G
12   “system for frequency         Plain and ordinary meaning                    “A system that down-converts a modulated
     down-converting”                                                            carrier signal at an aliasing rate (i.e., by
     (’513 patent, cl. 19;         Citation(s):                                  sampling at less than or equal to twice the
     ’528 patent, cl. 1;           Dkt. No. 36-1: PV 108 Op. Br. at 28-29, §     frequency of the modulated carrier signal)”
     ’736 patent, cl. 1)           IV.H;
                                   Dkt. No. 36-5: PV 108 Resp. Br. at 4-5, §     Citation(s):
     “apparatus for down-          II.C; 23, 25-27, § III.H, H.2;                Dkt. No. 33: Intel 108 Op. Br. at 9-18, §
     converting”                   Dkt. No. 36-6: PV 108 Rep. Br. at 17-20, §    IV.A;
     (’673 patent, cl. 13)         V.H                                           Dkt. No. 32-90: Intel 108 Resp. Br. at 2-5, §
                                                                                 II; 5-18, § III.A;
                                                                                 Dkt. No. 32-97: Intel 108 Rep. Br. at 3-6, §
                                                                                 III.A
13   [wherein said storage         Plain and ordinary meaning wherein the “a     [wherein said storage elements comprises] “a
     elements comprises] “a        capacitor” in each of the storage elements    capacitor that reduces a DC offset voltage in
     capacitor that reduces a      reduces a DC offset voltage in the            both said first down-converted signal and
                                                                                                                                 Case 6:21-cv-00520-ADA Document 42 Filed 04/20/22 Page 7 of 20




     DC offset voltage in said     corresponding down-converted signal           said second down-converted signal”
     first down-converted signal
                                   Citation(s):                                  Citation(s):


                                                               6
     and said second down-           Dkt. No. 36-1: PV 108 Op. Br. at 34-37, §       Dkt. No. 33: Intel 108 Op. Br. at 29-32, §
     converted signal”               IV.M;                                           IV.D;
     (’444 patent, cl. 4)            Dkt. No. 36-5: PV 108 Resp. Br. at 30-31, §     Dkt. No. 32-90: Intel 108 Resp. Br. at 27-30,
                                     III.I;                                          § III.D;
                                     Dkt. No. 36-6: PV 108 Rep. Br. at 20-21, §      Dkt. No. 32-97: Intel 108 Rep. Br. at 10-11,
                                     V.I;                                            § III.D;
                                     Dkt. No. 36-16: PV 870/945 Resp. Br. at 40-     Dkt. No. 32-18: TCL/Hisense Op. Br. at 34,
                                     41, § IV.S;                                     § II.S;
                                     Dkt. No. 36-22: PV 870/945 Sur-Rep. Br. at      Dkt. No. 32-42: TCL/Hisense Rep. Br. at 15,
                                     14-15, § IX                                     § I.K
14   “DC offset voltage”             Plain and ordinary meaning wherein the          Plain and ordinary meaning
     (’444 patent, cl. 4)            plain-and-ordinary meaning is “the difference
                                     between the DC voltage of a signal and a        Citation(s):
                                     reference voltage, e.g., ground”                Dkt. No. 32-18: TCL/Hisense Op. Br. at 34-
                                                                                     35, § II.T;
                                     Citation(s):                                    Dkt. No. 32-42: TCL/Hisense Rep. Br. at 14,
                                     Dkt. No. 36-1: PV 108 Op. Br. at 37-38, §       § I.H
                                     IV.N;
                                     Dkt. No. 36-5: PV 108 Resp. Br. at 31-32, §
                                     III.J;
                                     Dkt. No. 36-6: PV 108 Rep. Br. at 21, § V.J
                                     Dkt. No. 36-16: PV 870/945 Resp. Br. at 41-
                                     42, § IV.T;
                                     Dkt. No. 36-22: PV 870/945 Sur-Rep. Br. at
                                     14, § VII
15   “sampling aperture”             “a period of time during which the switch is    “a period of time during which the switch is
     (’513 patent, cl. 19;           in its closed (i.e., on) state”                 in its closed (i.e., on) state as part of the
     ’528 patent, cl. 1;                                                             process of reducing a continuous-time signal
     ’736 patent, cls. 1, 11;        Citation(s):                                    to a discrete-time signal”
     ’673 patent, cls. 13, 17, 19)   Dkt. No. 36-1: PV 108 Op. Br. at 21-23, §
                                                                                                                                     Case 6:21-cv-00520-ADA Document 42 Filed 04/20/22 Page 8 of 20




                                     IV.D;                                           Citation(s):
                                     Dkt. No. 36-5: PV 108 Resp. Br. at 15, §        Dkt. No. 33: Intel 108 Op. Br. at 39-41 , §
                                     III.D;                                          IV.H;


                                                               7
                                  Dkt. No. 36-6: PV 108 Rep. Br. at 9, § V.D;       Dkt. No. 32-90: Intel 108 Resp. Br. at 38-40,
                                  Dkt. No. 36-16: PV 870/945 Resp. Br. at 42-       § III.H;
                                  43, § IV.U;                                       Dkt. No. 32-97: Intel 108 Rep. Br. at 14, §
                                  Dkt. No. 36-22: PV 870/945 Sur-Rep. Br. at        III.H;
                                  15, § X                                           Dkt. No. 32-18: TCL/Hisense Op. Br. at 35-
                                                                                    36, § II.U;
                                                                                    Dkt. No. 32-42: TCL/Hisense Rep. Br. at 15,
                                                                                    § I.L
16   “means for under-sampling    Function: “under-sampling an input signal to      Subject to § 112, ¶ 6
     an input signal to produce   produce an input sample of a down-converted
     an input sample of a down-   image of the input signal and under-sampling      Function: “under-sampling an input signal
     converted image of said      the input signal according to a control signal”   to produce an input sample of a down-
     input signal”                                                                  converted image of said input signal and
     (’706 patent, cl. 6)         Structure: “switch 2650 in Fig. 26; switch        under-sampling the input signal according to
                                  5308 in Figs. 53A/53A-1; and equivalents          a control signal”
                                  thereof”
                                                                                    Structure: “the switch 2650 and the
                                  Citation(s):                                      capacitor 2652 in Fig. 26; the switch 5308
                                  Dkt. No. 36-8: PV 562 Op. Br. at 20-23, §         and capacitor 5310 in Figs. 53A/53A-1, and
                                  V.F;                                              equivalents thereof”
                                  Dkt. No. 36-13: PV 562 Rep. Br. at 6-7, §
                                  II.C; 19-21, § IV.G;                              Citation(s):
                                  Dkt. No. 36-16: PV 870/945 Resp. Br. at 24-       Dkt. No. 32-45: Intel 562 Resp. Br. at 13-17,
                                  26, § IV.H;                                       § II.F;
                                  Dkt. No. 36-22: PV 870/945 Sur-Rep. Br. at        Dkt. No. 32-55: Intel 562 Rep. Br. at 14-17,
                                  13, § VI                                          § II.F;
                                                                                    Dkt. No. 32-18: TCL/Hisense Op. Br. at 22-
                                                                                    24, § II.H;
                                                                                    Dkt. No. 32-42: TCL/Hisense Rep. Br. at 14,
                                                                                    § I.G
                                                                                                                                    Case 6:21-cv-00520-ADA Document 42 Filed 04/20/22 Page 9 of 20




17   “first delaying means for    Function: “delaying the input sample of a         Subject to § 112, ¶ 6
     delaying said input          down-converted image of said input signal”
     sample”                                                                        Function: “delaying said input sample”


                                                             8
     (’706 patent, cl. 6)        Structure: “capacitor 2656 in Fig. 26 or
                                 capacitor 5310 in Figs. 53A/53A1; and          Structure: “switch 2654 and capacitor 2656
                                 equivalents thereof”                           shown in Fig. 26”

                                 Citation(s):                                   Citation(s):
                                 Dkt. No. 36-8: PV 562 Op. Br. at 23-25, §      Dkt. No. 32-45: Intel 562 Resp. Br. at 17-19,
                                 V.G;                                           § II.G;
                                 Dkt. No. 36-13: PV 562 Rep. Br. at 4-6, §      Dkt. No. 32-55: Intel 562 Rep. Br. at 17-20,
                                 II.B; 21-24, § IV.H;                           § II.G;
                                 Dkt. No. 36-16: PV 870/945 Resp. Br. at 26-    Dkt. No. 32-18: TCL/Hisense Op. Br. at 24-
                                 29, § IV.I;                                    26, § II.I;
                                 Dkt. No. 36-22: PV 870/945 Sur-Rep. Br. at     Dkt. No. 32-42: TCL/Hisense Rep. Br. at 14,
                                 13, § VI                                       § I.G
18   “second delaying means      Function: delaying instances of an output      Subject to § 112, ¶ 6
     for delaying instances of   signal
     an output signal”                                                          Function: delaying instances of an output
     (’706 patent, cl. 6)        Structure: delay modules 1722A, 1722B,         signal
                                 1722C, etc. in FIG. 17; delay modules 1912,
                                 1914 in Fig. 19; delay modules 2316, 2318 in   Structure: structure including “first delay
                                 Fig. 23; first delay module 2628, second       module 2628,” “second delay module 2630”
                                 delay module 2630 in Fig. 26; delay module     shown in Fig 26 and described at 32:27-55,
                                 3204 shown in Fig. 32; sample and hold         “delay module 3204” shown in Fig. 32 and
                                 circuits 4501, 4503 shown in Fig. 45; analog   described at 35:1-18; the sample and hold
                                 delay line 3404 shown in Fig. 34 having a      circuits 4501 and 4503 in Fig. 45 and
                                 combination of capacitors, inductors, and/or   described at 32:44-64; or an analog delay
                                 resistors; and equivalents thereof             line having a combination of capacitors,
                                                                                inductors and/or resistors described at 35:19-
                                 Citation(s):                                   27; and equivalents thereof.
                                 Dkt. No. 36-8: PV 562 Op. Br. at 25-30, §
                                 V.H;                                           Citation(s):
                                                                                                                                 Case 6:21-cv-00520-ADA Document 42 Filed 04/20/22 Page 10 of 20




                                 Dkt. No. 36-13: PV 562 Rep. Br. at 6-7, §      Dkt. No. 32-45: Intel 562 Resp. Br. at 19-22,
                                 II.C; 24-25, § IV.I                            § II.H;




                                                           9
                                                                                   Dkt. No. 32-55: Intel 562 Rep. Br. at 20-22,
                                                                                   § II.H
19   “filter tuning means for    Function: tuning one or more filter               Subject to § 112, ¶ 6
     tuning one or more filter   parameters
     parameters”                                                                   Function: tuning one or more filter
     (’706 patent, cl. 134)      Structure: scaling modules 1716A, 1716B,          parameters
                                 1716C, 1724A, 1724B, 1724C in Fig. 17;
                                 control signal generator 1790 in Fig. 17; input   Structure: scaling modules including the
                                 scaling module 1909 in Fig. 19; scaling           resistor attenuator 3602 (shown in Fig. 36
                                 modules 1916, 1918 in Fig. 19; scaling            and described at 35:44-55) or the
                                 modules 2312, 2320, 2322 in Fig. 23; scaling      amplifier/attenuator 3704 implemented using
                                 module 2632, 2634 in Fig. 26; scaling module      operational amplifiers, transistors, or FETS
                                 3502 including resistor attenuator 3504, 3602     (shown in Fig. 37 and described at 35:60-
                                 in Figs. 35, 36; scaling module 3702              67), each of the resistor attenuator 3602 and
                                 including amplifier/attenuator 3704 in Fig.       the amplifier/attenuator 3704 having tunable
                                 37; control signal generator 4202 in Fig. 42;     resistors, capacitors, or inductors (as
                                 and equivalents thereof                           described at 42:33-36); and equivalents
                                                                                   thereof; OR the control signal generator
                                 Citation(s):                                      4202 (shown in Fig. 42 and described at
                                 Dkt. No. 36-8: PV 562 Op. Br. at 36-43, §         36:44-62 and 42:27-32) implemented with a
                                 V.M;                                              tunable oscillator 4204 and an aperture
                                 Dkt. No. 36-13: PV 562 Rep. Br. at 27-29, §       optimizing module 4210 using tunable
                                 IV.L                                              components (such as tunable resistors,
                                                                                   capacitors, inductors, etc.) (described at
                                                                                   36:63-37:5 and 42:27-32) and equivalents
                                                                                   thereof.

                                                                                   Citation(s):
                                                                                   Dkt. No. 32-45: Intel 562 Resp. Br. at 25-28,
                                                                                   § II.K;
                                                                                                                                   Case 6:21-cv-00520-ADA Document 42 Filed 04/20/22 Page 11 of 20




                                                                                   Dkt. No. 32-55: Intel 562 Rep. Br. at 24-26,
                                                                                   § II.K




                                                            10
20   “a frequency translator to   Not subject to § 112, ¶ 6                      Subject to § 112, ¶ 6
     produce a sample of a
     down-converted image of      Plain and ordinary meaning                     Function: “produce a sample of a down-
     an input signal, and to                                                     converted image of an input signal according
     delay said sample”           Citation(s):                                   to a control signal, and delay said sample”
     (’706 patent, cl. 34)        Dkt. No. 36-8: PV 562 Op. Br. at 33-34, §
                                  V.J;                                           Structure: “the down-convert and delay
                                  Dkt. No. 36-13: PV 562 Rep. Br. at 4-7,        module 2624 in Fig. 26 and described at
                                  §II.B-C; 12, § IV.B;                           26:1-27:21 and 28:20-41, that includes the
                                  Dkt. No. 36-16: PV 870/945 Resp. Br. at 29,    switches 2650 and 2654, and the capacitors
                                  § IV.J;                                        2652 and 2656; and equivalents thereof”
                                  Dkt. No. 36-22: PV 870/945 Sur-Rep. Br. at
                                  13, § VI                                       Citation(s):
                                                                                 Dkt. No. 32-45: Intel 562 Resp. Br. at 3-7, §
                                                                                 II.A;
                                                                                 Dkt. No. 32-55: Intel 562 Rep. Br. at 2-7 , §
                                                                                 II.A;
                                                                                 Dkt. No. 32-18: TCL/Hisense Op. Br. at 26-
                                                                                 27, § II.J;
                                                                                 Dkt. No. 32-42: TCL/Hisense Rep. Br. at 14,
                                                                                 § I.F, G
21   “a down-convert and delay    Not subject to § 112, ¶ 6                      Subject to § 112, ¶ 6.
     module to under-sample an
     input signal to produce an   Plain and ordinary meaning                     Function: “under-sample an input signal
     input sample of a down-                                                     according to a control signal to produce an
     converted image of said      Citation(s):                                   input sample of a down-converted image of
     input signal, and to delay   Dkt. No. 36-8: PV 562 Op. Br. at 7-9, § V.A;   said input signal, and to delay said input
     said input sample”           Dkt. No. 36-13: PV 562 Rep. Br. at 1-7, §      sample”
     (’706 patent, cls. 1, 7)     II.A-C; 8-10, § IV.A;
                                  Dkt. No. 36-16: PV 870/945 Resp. Br. at 19-    Structure: “the down convert and delay
                                                                                                                                 Case 6:21-cv-00520-ADA Document 42 Filed 04/20/22 Page 12 of 20




                                  20, § IV.E;                                    module 2624 in Fig. 26 and described at
                                  Dkt. No. 36-22: PV 870/945 Sur-Rep. Br. at     26:1-27:21 and 28:20-41, that includes the
                                  13, § VI


                                                              11
                                                                                switches 2650 and 2654, and the capacitors
                                                                                2652 and 2656; and equivalents thereof”

                                                                                Citation(s):
                                                                                Dkt. No. 32-45: Intel 562 Resp. Br. at 3-7, §
                                                                                II.A;
                                                                                Dkt. No. 32-55: Intel 562 Rep. Br. at 2-7 , §
                                                                                II.A;
                                                                                Dkt. No. 32-18: TCL/Hisense Op. Br. at 18-
                                                                                20, § II.E;
                                                                                Dkt. No. 32-42: TCL/Hisense Rep. Br. at 14,
                                                                                § I.F
22   “at least one delay module   Not subject to § 112, ¶ 6                     Subject to § 112, ¶ 6
     to delay instances of an
     output signal”               Plain and ordinary meaning                    Function: “delay instances of an output
     (’706 patent, cls. 1, 7)                                                   signal / further delay one or more of said
                                  Citation(s):                                  delayed and down-converted input samples”
                                  Dkt. No. 36-8: PV 562 Op. Br. at 10-11, §
                                  V.C;                                          Structure: “structure including “first delay
                                  Dkt. No. 36-13: PV 562 Rep. Br. at 1-3,       module 2628,” “second delay module 2630”
                                  §II.A; 6-7, §II.C; 13-15, § IV.D;             shown in Fig 26, “delay module 3204”
                                  Dkt. No. 36-16: PV 870/945 Resp. Br. at 20-   shown in Fig. 32 and described at 35:1-18;
                                  21, § IV.F;                                   the sample and hold circuit 4501 and 4503 in
                                                                                Fig. 45 and described at 32:44-33:19; or an
                                                                                                                                Case 6:21-cv-00520-ADA Document 42 Filed 04/20/22 Page 13 of 20




                                                              12
     “at least one delay module     Dkt. No. 36-22: PV 870/945 Sur-Rep. Br. at    analog delay line having a combination of
     to delay an output signal”     13, § VI                                      capacitors, inductors and/or resistors
     (’706 patent, cl. 34)                                                        described at 35:19-27; or equivalents
                                                                                  thereof”

                                                                                  Citation(s):
                                                                                  Dkt. No. 32-45: Intel 562 Resp. Br. at 7-9, §
                                                                                  II.C;
                                                                                  Dkt. No. 32-55: Intel 562 Rep. Br. at 8-9 , §
                                                                                  II.C;
                                                                                  Dkt. No. 32-18: TCL/Hisense Op. Br. at 20-
                                                                                  21, § II.F;
                                                                                  Dkt. No. 32-42: TCL/Hisense Rep. Br. at 14,
                                                                                  § I.F, G
23   “said control signal           Plain and ordinary meaning                    Indefinite
     comprises a train of pulses
     having pulse widths that       Citation(s):                                  Citation(s):
     are established to improve     Dkt. No. 36-8: PV 562 Op. Br. at 17-20, §     Dkt. No. 32-18: TCL/Hisense Op. Br. at 21-
     energy transfer from said      V.E;                                          22, § II.G;
     input signal to said down-     Dkt. No. 36-13: PV 562 Rep. Br. at 18-19, §   Dkt. No. 32-42: TCL/Hisense Rep. Br. at 13-
     converted image”               IV.F;                                         14, § I.E
     (’706 patent, cl. 2)           Dkt. No. 36-16: PV 870/945 Resp. Br. at 21-
                                    23, § IV.G;
                                    Dkt. No. 36-22: PV 870/945 Sur-Rep. Br. at
                                    13, § V
24   “said energy transfer signal   Plain and ordinary meaning                    Indefinite
     generator establishes
     apertures of said pulses to    Citation(s):                                  Citation(s):
     increase the time that said    Dkt. No. 36-16: PV 870/945 Resp. Br. at 31-   Dkt. No. 32-18: TCL/Hisense Op. Br. at 29-
     switch is closed for a         32, § IV.L;                                   30, § II.L;
                                                                                                                                  Case 6:21-cv-00520-ADA Document 42 Filed 04/20/22 Page 14 of 20




     purpose of reducing an         Dkt. No. 36-22: PV 870/945 Sur-Rep. Br. at    Dkt. No. 32-42: TCL/Hisense Rep. Br. at 13-
     impedance of said switch”      13, § V                                       14, § I.E
     (’706 patent, cl. 107)


                                                             13
     “said energy transfer signal
     generator establishing
     apertures of said pulses to
     increase the time that said
     switch is closed to reduce
     an impedance of said
     switch, and to increase
     energy transferred from
     said input signal”
     (’706 patent, cls. 165, 176,
     187)
25   “between six and fifty         Plain and ordinary meaning                      Indefinite
     percent of the energy
     transferred from the RF        Citation(s):                                    Citation(s):
     information signal to the      Dkt. No. 36-1: PV 108 Op. Br. at 38-39, §       Dkt. No. 33: Intel 108 Op. Br. at 45-48, §
     storage module is              IV.O;                                           IV.K;
     discharged from the            Dkt. No. 36-5: PV 108 Resp. Br. at 32-35, 37-   Dkt. No. 32-90: Intel 108 Resp. Br. at 44-45,
     storage module”                39, § III.K, K.1, K.4;                          § III.K;
     (’725 patent, cl. 17)          Dkt. No. 36-6: PV 108 Rep. Br. at 21, § V.K     Dkt. No. 32-97: Intel 108 Rep. Br. at 17-20,
     “between six and twenty-                                                       § III.K
     five percent of the energy
     transferred from the RF
     information signal to the
     storage module when is
     discharged from the
     storage module.”
     (’725 patent, cl. 18)
     “between ten and twenty
     percent of the energy
     transferred from the RF
                                                                                                                                    Case 6:21-cv-00520-ADA Document 42 Filed 04/20/22 Page 15 of 20




     information signal to the
     storage module discharged
     from the storage module”


                                                             14
     (’725 patent, cl. 19)
     “the energy discharged
     during any given discharge
     cycle is not completely
     discharged”
     (’528 patent, cl. 9;
     ’736 patent, cls. 1, 11)
26   “low impedance load”           Plain and ordinary meaning                     Indefinite
     (’736 patent, cls. 26, 27;
     ’673 patent, cls. 5, 17)       Citation(s):                                   Citation(s):
     “said enemy[sic]               Dkt. No. 36-16: PV 870/945 Resp. Br. at 2-8,   Dkt. No. 32-18: TCL/Hisense Op. Br. at 2-9,
     discharged from said           § IV.A-B;                                      § II.A, B;
     capacitor provides             Dkt. No. 36-22: PV 870/945 Sur-Rep. Br. at     Dkt. No. 32-42: TCL/Hisense Rep. Br. at 1-
     sufficient power to drive      1-6, § I-II                                    5, § I.A, B
     the low impedance load.”
     (’673 patent, cl. 5)
27   “wherein said energy           Plain and ordinary meaning                     Indefinite
     transfer signal generator in
     widening said apertures of     Citation(s):                                   Citation(s):
     said pulses by a non-          Dkt. No. 36-16: PV 870/945 Resp. Br. at 30,    Dkt. No. 32-18: TCL/Hisense Op. Br. at 27-
     negligible amount that         § IV.K                                         28, § II.K;
     tends away from zero time      Dkt. No. 36-22: PV 870/945 Sur-Rep. Br. at     Dkt. No. 32-42: TCL/Hisense Rep. Br. at 13-
     in duration to extend the      13, § V                                        14, § I.E
     time that said switch is
     closed for the purpose of
     increasing energy
     transferred from said input
     signal does so at the
     expense of reproducing
     said input signal, such that
                                                                                                                                 Case 6:21-cv-00520-ADA Document 42 Filed 04/20/22 Page 16 of 20




     said increased energy
     transferred from said input
     signal when said switch is


                                                             15
     closed in response to said
     energy transfer signal
     prevents substantial
     voltage reproduction of
     said input signal”
     (’706 patent, cl. 111)
28   “substantially the same       Plain and ordinary meaning                    Indefinite
     size”
     (’902 patent, cl. 5)          Citation(s):                                  Citation(s):
                                   Dkt. No. 36-1: PV 108 Op. Br. at 38-39, §     Dkt. No. 33: Intel 108 Op. Br. at 45, 49-50, §
                                   IV.O;                                         IV.K;
                                   Dkt. No. 36-5: PV 108 Resp. Br. at 36-37, §   Dkt. No. 32-90: Intel 108 Resp. Br. at 44-45,
                                   III.K.3                                       § III.K;
                                   Dkt. No. 36-6: PV 108 Rep. Br. at 21, § V.K   Dkt. No. 32-97: Intel 108 Rep. Br. at 21, §
                                                                                 III.K
29   “separate integration         Plain and ordinary meaning                    Indefinite
     module”
     (’528 patent, cl. 17)         Citation(s):                                  Citation(s):
                                   Dkt. No. 36-1: PV 108 Op. Br. at 38-39, §     Dkt. No. 33: Intel 108 Op. Br. at 45, 48-49, §
                                   IV.O;                                         IV.K;
                                   Dkt. No. 36-5: PV 108 Resp. Br. at 35, §      Dkt. No. 32-90: Intel 108 Resp. Br. at 44-45,
                                   III.K.2                                       § III.K;
                                   Dkt. No. 36-6: PV 108 Rep. Br. at 21, § V.K   Dkt. No. 32-97: Intel 108 Rep. Br. at 20-21,
                                                                                 § III.K
30   “voltage of the input         Plain and ordinary meaning                    Indefinite
     modulated carrier signal is
     not reproduced or             Citation(s):                                  Citation(s):
     approximated at the           Dkt. No. 36-16: PV 870/945 Resp. Br. at 16-   Dkt. No. 32-18: TCL/Hisense Op. Br. at 16-
     capacitor during the          19, § IV.D                                    18, § II.D;
     apertures or outside of the   Dkt. No. 36-22: PV 870/945 Sur-Rep. Br. at    Dkt. No. 32-42: TCL/Hisense Rep. Br. at 12-
                                                                                                                                  Case 6:21-cv-00520-ADA Document 42 Filed 04/20/22 Page 17 of 20




     apertures”                    10-13, § IV                                   13, § I.D
     (’673 patent, cl. 2)




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Dated: April 20, 2022                         Respectfully submitted,

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                                CERTIFICATE OF SERVICE

The undersigned hereby certifies that, on April 20, 2022, all counsel of record who are deemed

to have consented to electronic service are being served with a copy of this document.


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